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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10
        WILLIAM ROBEY,                                     CASE NO. 2:23-cv-00280-LK
11
                              Plaintiff,                   ORDER OF DISMISSAL
12             v.
13      SEATTLE MUNICIPAL CORPORATION
        et al.,
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                              Defendants.
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            This matter comes before the Court Plaintiff William Robey’s Motion for Dismissal
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     Without Prejudice. Dkt. No. 30. Mr. Robey, who is proceeding pro se, claims that the Seattle
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     Housing Authority’s (“SHA”) biennial home inspections violate the federal and Washington State
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     constitutions as well as various laws and regulations. See generally Dkt. No. 2-1. On June 14,
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     2023, the Court granted in part Seattle Municipal Corporation’s motion to dismiss Mr. Robey’s
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     complaint and granted Mr. Robey leave to file an amended complaint and to effect proper service
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     on Defendants. See generally Dkt. No. 26. Mr. Robey’s motion for dismissal, which the Court
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     construes as a notice of voluntary dismissal pursuant to Federal Rule of Civil Procedure
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     ORDER OF DISMISSAL - 1
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 1   41(a)(1)(A)(i), appears to have been submitted in “reply” to the Court’s recent order. Dkt. No. 30

 2   at 1.

 3           A plaintiff “may dismiss an action without a court order by filing . . . a notice of dismissal

 4   before the opposing party serves either an answer or a motion for summary judgment.” Fed. R.

 5   Civ. P. 41(a)(1)(A)(i). Although Seattle Municipal Corporation previously filed a motion to

 6   dismiss and Mr. Robey filed an improper motion for summary judgment, Dkt. Nos. 15, 27–28, no

 7   Defendant has served either an answer or a motion for summary judgment. Thus, Mr. Robey’s

 8   motion to dismiss is effective upon its filing and without a court order pursuant to Federal Rule of

 9   Civil Procedure 41(a)(1)(A)(i).

10           Accordingly, the Court GRANTS Mr. Robey’s Motion to Dismiss, Dkt. No. 30. This action

11   is DISMISSED without prejudice and without attorney fees or costs to any party. The Clerk of

12   Court shall close this case and terminate all remaining deadlines.

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14           Dated this 28th day of June, 2023.

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                                                            A
16                                                          Lauren King
                                                            United States District Judge
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     ORDER OF DISMISSAL - 2
